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AO 9l(Rev.08/09) Cri
                   m inalComplaint
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                                 U NITED STATESD ISTRICT C OURT
                                                        forthe                              FIl
                                                                                              -ED by                D.C.
                                             Southern DistrictofFlorida                    f
               United StatesofAmerica
                                                                                                N2k 2? 2218
                            V.
           DEANDRE SHAW N BURG ESS,
                                                                 CaseN0. 18-8491-W M            Ss.
                                                                                                 JJn,
                                                                                                   /loF
                                                                                                     ysu
                                                                                                       MF.
                                                                                                         kt'rs'?tlE
                                                                                                                .
                                                                                                         uA.-w.RB
                                                                                                                .




                                              CRIM INAL COM PLAINT

        1,thecomplainantinthiscase,statethatthe following istruetothebestofmy knowledge and belief.
Onoraboutthedatets)of                 November27,2018        inthecounty of               Palm Beach                inthe
   Southern    Districtof                Florida     ,thedefendantts)violated:
           CodeSection                                               OffenseDescription
18 U.S.C.Section922(g)(1)                   Possessi
                                                   on ofa firearm bya prohibi
                                                                            ted person - convicted felon.




      Thiscriminalcom plaintisbased on these facts:
See M ached Affidavit




        V Continuedontheattachedsheet.


                                                                                  Complainant'
                                                                                             ssignature

                                                                        Tim othyD.Trenschel,Speci
                                                                                                alAqent,ATF
                                                                                  Printed nameand tule

Sworntobeforeme and signed in m ypresence.


Date:         /. X             XQ l                                           '
                                                                                    Ju ge'
                                                                                         ssignature

City and state:                  W estPalm Beach,FL                    W illiam Matthew an, U.S.Magistrate Judge
                                                                                  Pri
                                                                                    nted nameandtitle
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                                             M FID A V IT

        Y olzr affiant,Tim Trenschel, first being duly sw orn, does hereby depose and state as

 follow s'
         .

                                          lntroduction

               Y ouraffiantisem ployed as a SpecialA gentw ith the Bureau ofA lcohol,Tobacco,

 Firearms and Explosives (ATF)ofthe United StatesDepartmentofJustice,and has been so
 em ployed since 2005. Prior to this,your affiantw as a m etropolitan police officer in Lexington,

 K entucky,for overfive years. D tlring his tenure w ith A TF,youraffianthasreceived specialized

 training regarding the investigation and enforcem entofFederalFireannsviolations.

       2.      This affidavit is m ade in supportof a Crim inalComplaintand Arrest W arrant

 chargingDEANDRE SHAW N BURGESS,yearofbirth- 1993,(hereinafterBURGESS)with
 possession of a firearm by a prohibited person - convicted felon,in violation of Title l8,U nited

 StatesCode,Section 922(g)(1).
               Thisaffidavitisbased upon m y own know ledge asw ellasinfonnation provided to

 m e by other law enforcem entofficers. This affidavit does not set forth every fact known to m e

 regarding the investigation but only those facts necessary to establish probable cause. N o

 infonnation known to m ethatwould tend to negate probable cause has been withheld from this

 affidavit.

                                        Probable C ause

               On Saturday,O ctober 20,2018,atapproxim ately 1:30 am ,the W estPalm Beach

 Police D epartm ent w as dispatched to the intersection of Banyan Boulevard and N .Australian

 A venue in reference to vehicle accidentw ith fatalities.O fficers,responded to the accidentscene
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 and assistedseveraloccupantsofablack Nissan sedan which wasinvolvedintheaccidentand had

 caughtfire.

               The backseat passenger,BU RG ESS w as rem oved from the black N issan sedan.

 BU RGESS w as conscious and talking;however,he w as rem oved from the vehicle and seated

 nearby to allow fora check ofhism edicalcondition. A she w as seated,oftk ers observed the grip

 ofa black and silversem i-autom atic pistolprotruding from his leftpantspocket.The firearm w as

 later identified as a KahrCW 45 .45 ACP pistol,with serialnum ber 5D0892,and loaded with

 approximately sixroundsofammunition -includingone(1)roundloaded in thechnmber. The
 gun w as so firm ly stuck in BU RG ESS' pocket. Such that his pocket w as cut open by first

 responders in orderto rem ove the firenrm . A 11ofw hich w as capttlred on video via a body-w onl

 cam era.

               l conducted a crim inal history check that revealed BU R GESS w as convicted of

 Delinquentin Possession ofa Firennn,a felony,in the 15th JudicialCircuitCourtin and forPalm

 Beach County,Florida on O ctober 23,2012. BU RG ESS w as later convicted ofG rantTheh ofa

 M otorVehicleand Burglary ofa Conveyance,both felonies,in the 15thJudicialCircuitCourtin

 and for Palm Beach County, Florida on July 24, 2013. A dditionally, l previously arrested

 BU RG ESS in July 2017 on this very sam e charge.Specifically,l obtained a crim inalcom plaint

 and arrest w arrant on July 10, 2017,from the Honorable W illiam M atthem nan, United States

 M agistrate Judge (17-M J-08271-W M )charging BURGESS with possession ofa firearm by a
 prohibitedperson-convictedfelon,inviolationofTitle18,UnitedStatesCode,Section922(g)(1).
 BU RGESS w as arrested and later pled guilty on A ugust 18,2017,before the Honorable Jam es 1.

 Cohn,UnitedStatesDistrictCourtJudge(17-CR-80147-JlC).BURGESSwasthen sentencedto
 tifteen m onths in prison, follow ed by tw o years of supervised release on O ctober 18, 2017.
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 According to arecordscheck ofpublically availableinform ation released by the FederalBureau

 ofPrisons,BURGESS (USM S Register# 16287-104)wasreleased from custody on August14,
 2018,and then began his tenn ofsupervised release during which this offense occurred.

               Inm aw arethatthe K ahrCW 45 .45 A CP pistolism anufactured outside ofthe State

 ofFlorida,andhasthereforetraveled in foreign orinterstate comm erce.

        8.     Based on the foregoing, your affiant believes probable cause exists that

 DEANDRE SHAW N BURGESS,on oraboutOctober20,2018,did com mita federaloffense,

 thatis,possession of a fireann by a prohibited person - convicted felon,in violation ofTitle 18,

 UnitedStatesCode,Sedion922(g)(1).


        FUR THER Y OU R A FFIAN T SA YETH N A U G HT.




                                            Tim Trensc el
                                            SpecialA gent,A TF



 Sw olkN TO AT D SUBSCRIBED BEFORE
 METHISX TR AY OFNOVEMBER,2018,
 A T W EST PA LM BEA CH ,FLOR ID A ,
 SOU TH ERN D ISTRICT O F FLORID A .




 H ON .W ILLIA M M AT EW M A N
 UN ITED STA TES M A ISTM TE JU D GE




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                            UN ITED STA TES D ISTR ICT COU RT
                            SOU TH ERN D ISTR IC T OF FLO RID A

                                     PEN A LTY SH EET


 D efendant'sN am e: DE AN DR E SH A W N BU R G ESS

 C ase N o.: 18-8491-W M

 C ounts # 1:

 Possession ofatireanu bv a prohibited person - convicted felon.

 Title 18sUnited StatesCodesSections922(c)(1)

 *M ax.Penalty: 10Year'slm prisonm ent;3 Year'sSupervisedReleases
                                                                '$250,000 Fine
                p,
                 nfl$100 SpecialAssessm ent.




 WR efers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
 specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
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                              UNITED STATES DISTRICT C OU RT
                              SO UTH ERN DISTR IC T O F FLO RIDA

                                Case N o. 18-8491-WM


   UNITED STATES O F AM ERICA

   V.


   DEA ND RE SHA W N BUR GESS,

                     D efendant.
                                             /


                                    CR IM INA L C O VER SH EET

        D id this m atter originate from a m atterpending in the CentralRegion ofthe U nited States
        Attorney'sOfficepriortoAugust9,2013(Mag.JudgeAliciaValle)?                      Yes V No
        D id this m atter originate from a m atterpending in the N orthern Region ofthe United States
        Attorney'sOfficepriortoAugust8,2014(Mag.JudgeShaniekM aynard)?                  Yes V No


                                                 Respectfully subm itted,

                                                 A RG N A FAJ 11.
                                                                170 ORSHA N
                                                 UN ITED ST ES         N EY


                                        BY :
                                                 A dam C. c ichael
                                                 A SSISTAN T     ITED STA TES TTO RN EY
                                                 Florida BarN o. 0772321
                                                 500 South Australian Avenue,Suite 400
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